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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )              8:08CR61
                             Plaintiff,            )
                                                   )
       vs.                                         )              ORDER
                                                   )
RICHARD RIDPATH,                                   )
JOHN JANTZON and                                   )
AUGUSTIN RIOS,                                     )
                                                   )
                             Defendants.           )


       This matter is before the court on the motion for an extension of time by defendant
Augustin Rios (Rios) (Filing No. 25). Rios seeks an additional forty-five days in which to
file pretrial motions in accordance with the progression order (Filing No. 12). Rios's
counsel represents that Rios will file an affidavit wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Upon consideration, the motion will be granted and the pretrial
motion deadline will be extended as to all defendants. Trial of this matter will be
rescheduled following the disposition of any pretrial motions.
       IT IS ORDERED:
       Defendant Rios's motion for an extension of time (Filing No. 25) is granted. All
defendants are given until on or before May 27, 2008, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between April
8, 2008 and May 27, 2008, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendants' counsel require
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 8th day of April, 2008.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
